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UNITED STATES OF AMERICA,

 

Plaintiff,

DARRYL SCOTT SUSEWITT,

)
)
)
)
VS. ) No. 1-03-10012
)
)
)
Defendant. )

 

ORDER DENYING DEFENDANT’S MOTION FOR FURLOUGH

 

Defendant Darryl Scott Susewitt, an inmate at the Federal Correctional Institution in
l\/Iernphis, Tennessee, filed this motion for a furlough to attend the funeral of his brother,
l\/lark Susewitt, Who passed away recently. However, because Defendant has already been
sentenced, it is Within the Bureau ofPrisons authority to grant such a request. Consequently,
this court does not have jurisdiction to grant Defendant’s motion for a furlough
Defendant’s motion is DENIED.

IT lS SO ORDERED.

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JAME . TODD
UNIT STATES DISTR]CT JUDGE

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DISTRIC COURT - WESRNTE D"'TRCT oFTENNEssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 50 in
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June 21 , 2005 to the parties listed.

 

 

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jacl<son, TN 38301

.l ames W. PoWell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jacl<son, TN 38301

Honorable .l ames Todd
US DISTRICT COURT

